                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                          SAN ANTONIO DIVISION
USA                                             §
                                                §      CRIMINAL NO:
vs.                                             §      SA:20-CR-00095(2)-FB
                                                §
(2) Christopher Montoya                         §

       ORDER CANCELLING BOND REVOCATION HEARING
        IT IS HEREBY ORDERED that the above entitled and numbered case having been set

for BOND REVOCATION HEARING on Tuesday, April 13, 2021 at 11:00 AM is hereby

CANCELLED until further order of the court.

      IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order to

counsel for defendant, the United States Attorney, United States Pretrial Services and the United

States Probation Office. If the defendant is on bond, counsel for the defendant shall notify the

defendant that this matter is cancelled.

        IT IS SO ORDERED this 12th day of April, 2021.




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                                                FRED BIERY
                                                UNITED STATES DISTRICT JUDGE
